471 U.S. 1143
    105 S.Ct. 3552
    86 L.Ed.2d 706
    Fortune ODEND'HAL, Jr., et al., petitioners,v.
    COMMISSIONER OF INTERNAL REVENUE.*  No.84-1307.  Supreme Court of the United States  June 3, 1985  The motion to substitute Harry R. Smith, Jr., as Personal Representative of Estate of Ivan V. Magal, deceased, as a party petitioner is granted.  The petition for a writ of certiorari to the United States Court of Appeals for the Fourth Circuit denied.  ----------* Editor's Note:  This memorandum decision was previously published at 105 S.Ct. 2688.  It is republished as corrected.    National Farmers Union Ins. Companies v. Crow Tribe of  [105SCt1965,471US1301,85LEd2d472]  105 S.Ct. 1965  471 U.S. 1301  85 L.Ed.2d 472  NATIONAL FARMERS UNION INSURANCE COMPANIES and Lodge  Grass School District No. 27, Applicants,  v.  CROW TRIBE OF INDIANS et al.
    
      No. A-778.
      April 24, 1985.
      Justice REHNQUIST, Circuit Justice.
    
    
      1
      The Court of Appeals for the Ninth Circuit has stayed all proceedings with respect to this case in the United States District Court and in the Crow Tribal Court pending resolution of the merits of the case by this Court.  Applicants contend that the Court of Appeals was without jurisdiction to issue the stay, and request me to "dissolve" the stay issued by the Court of Appeals. The jurisdiction of the Court of Appeals to issue the stay order is indeed debatable, but I do not believe that four Members of the Court would wish to review that separate issue in addition to resolving the merits of the principal case argued on April 16th. Nor do I believe that the equities favor a stay to preserve the posture between the parties that applicants seek, given the present state of affairs in the District and Tribal Courts. Decision of the merits by this Court may ordinarily be expected before the summer recess around July 1st, and the stay issued by the Court of Appeals will expire by its own terms upon the happening of that event.  The application is therefore denied.
    
    